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                      UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

In Re:                                       :
               Jose M. Frias                 :
               Mary S. Frias                 :
                                             :   Case No. 15-10271-RGM
                                             :
                       Debtor                :   Chapter: 13
                                             :

                                   MOTION TO DISMISS


         COMES NOW Jose M. Frias and Mary S. Frias, and represents to this Honorable Court

as follows:

   1. Debtors filed a petition for relief under Chapter 13 of the Bankruptcy Code on January 27,

2015, and an order for relief was entered.

   2. This case has not been converted under 11 USC §§ 706, 1112, or 1208.

         WHEREFORE, Debtors pray for an order dismissing the above styled case without

prejudice pursuant to 11 USC 1307(b).



Date: June 16, 2014                                         Jose M. Frias,
                                                            Mary S. Frias, Debtors
                                                            By Counsel

/s/ John D. Sawyer
John D. Sawyer, Esq.
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                                    CERTIFICATE OF SERVICE

       I certify that on this 16th day of June, 2015, copies of the foregoing Debtor's Motion to Dismiss
were mailed postage prepaid to the Chapter 13 Trustee, and to all parties on the attached matrix.

                                                         /s/ John D. Sawyer
                                                         John D. Sawyer, Esq.
[Frias.JM.MTN.dis]

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